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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


                                          :
 DONNA CURLING, et al.,                   :
                                          :
       Plaintiffs,                        :
                                          :
 v.                                       :
                                                   CIVIL ACTION NO.
                                          :
                                                   1:17-cv-2989-AT
                                          :
 BRAD RAFFENSPERGER, et al.,              :
                                          :
       Defendants.                        :
                                          :

                                    ORDER

      The Coalition Plaintiffs are DIRECTED to file a notice to the Court by

Wednesday, June 29, at 10:00 A.M. identifying the individuals whom they

seek to depose related to the Coffee County discovery dispute and, for any Rule

30(b)(6) deponents, the specific topics they seek to cover in those depositions. In

their submission, the Coalition Plaintiffs should also identify which components of

the Joint Discovery Dispute (Doc. 1360) they believe have not been resolved.

      The State Defendants are DIRECTED to respond to the Coalition Plaintiffs’

Motion for Hearing (Doc. 1407) and submission by Thursday, June 30, at 5:00

P.M. Any other parties who wish to respond should also do so by Thursday,

June 30, at 5:00 P.M.
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IT IS SO ORDERED this 28th day of June, 2022.


                            ____________________________
                            Honorable Amy Totenberg
                            United States District Judge




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